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                          UNITED STATES DISTRICT COURT
                      IN THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 KRAFT FOODS GLOBAL, INC., THE                   )
 KELLOGG COMPANY, GENERAL                        )
 MILLS, INC., and NESTLÉ USA, INC.,              )
                                                 )
        Plaintiffs,                              )    No. 1:11-cv-08808
                                                 )
                v.                               )    Judge Steven C. Seeger
                                                 )
 UNITED EGG PRODUCERS, INC.,                     )
 UNITED STATES EGG MARKETERS,                    )
 INC., CAL-MAINE FOODS, INC.,                    )
 MICHAEL FOODS INC., and ROSE ACRE               )
 FARMS, INC.                                     )
                                                 )
        Defendants.                              )
                                                 )

  RENEWED MOTION OF DEFENDANTS UNITED EGG PRODUCERS, INC. AND
  UNITED STATES EGG MARKETERS FOR JUDGMENT AS A MATTER OF LAW
   PURSUANT TO RULE 50(b), OR IN THE ALTERNATIVE, MOTION FOR NEW
           TRIAL OR ALTERATION/AMENDMENT OF JUDGMENT
                        PURSUANT TO RULE 59

       For the reasons set forth in the accompanying Memorandum of Law, Defendants United

Egg Producers, Inc. (“UEP”) and United States Egg Marketers, Inc. (“USEM”), by and through

their attorneys, move pursuant to Rule 50(b) of the Federal Rules of Civil Procedure for judgment

as a matter of law dismissing all of Plaintiffs’ claims, or in the alternative, for a new trial or

alteration or amendment of the judgment pursuant to Rule 59 of the Federal Rules of Civil

Procedure.




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Dated: December 4, 2024
                                    Respectfully submitted:

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                                    Inc. & United States Egg Marketers, Inc.




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